 Case 3:17-cv-00072-NKM-JCH Document 219 Filed 02/01/18 Page 1 of 2 Pageid#: 1131


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   nonweallhorvirginia                 Va.Codejj8.01-301,-329;55-2l8.1;57-5l




TO THE PERSON PREPARIN G THIS AFFIDAVIT: You mustcomply with the appropriaterequirementslisted on thebackofthisform .




         applies(seeNON-RESIDENCEGROUNDSREQUIREMENT onreverse).
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         REQUIREMENTonreverse)andthat
                                   isthereturndateontheattachedwarrant,motionforjudgmentornotice(seeTIMELY
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                                     f6theExeculiveSecretaryoftheCommonwealthofVirginia:
       You arebeing served with thisnotice and attached pleadingsunderSection 8.01-329 ofthe CodeofVirginia which designates
       the Secretary oftheCom monwealth asstatutory agentforService ofProcess.TheSecretary ofthe Comm onwealth'sONLY
       responsibility isto mail,by certified mail,retun:receiptrequested,theenclosed papersto you.lfyou have any questions
       concerning these documents,you may wishto seek advice from alawyer.
SERVICE OF PROCESS IS EFFECTIVE ON THE DATE W HEN SERVICE IS M ADE ON THE SECRETARY OF THE
COM M ONW EALTH.
                                                                               CERTIFICATE OF COM PLIAN CE
f,theundersfgned,Clerki11theOfficeoftheSecretaryoftlleCoInluonwealth,herebycertifythefollowing-
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      Commonwealth,asstatutory agentforpersonstb beserved in accordancewith S - . -329 ofthe Code o . 1ginia,asamended.
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        avarded by certified mail,retunnreceiptrequested,to thepal'
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FORM DC-410FRONT 07/13
     Case 3:17-cv-00072-NKM-JCH Document 219 Filed 02/01/18 Page 2 of 2 Pageid#: 1132



    TIM ELY SERVICE REQUIREM ENT:
        SerdceofprocessinactionsbroughtonawarrantormotionforjudgmentpursuanttoVirginiaCodej16.1-
    79 orj 16.1-81shallbevoid andofno effectwhen such serviceofprocessisreceivedby theSecretaly within
    ten days ofany ret'
                      ul'
                        n day setby the warrant.ln such cases,the Secretary shallrettlr'
                                                                                       n theprocessornotice,the
    copyoftheaftidavit,andtheprescribedfeetotheplaintifforhisagent.A copyofthenoticeoftherejection
    shallbe sentto the clerk ofthecourtin w hich the action wasfiled.


    NON-RESIDENCE GROUNDS REQUIREM ENT:
    Ifbox num ber1 ischecked,insertthe appropriate subsection num ber:

    A courtmayexercisepersonaljurisdictionoveraperson,whoactsdirectlyorbyanagent,astoacauseofaction
    azising from theperson's:                  .

        1. Transacting any businessin thisCom m onw ealth;
        2. Contracting to supply servicesorthingsin thisCom m onwealth;
        3. Causingtortiousinjuly by an actoromission in thisCommonwealth;
        4. CausingtortiousinjuryinthisCommonwea1thbyanactoromissionoutsidethisCommonwealthifhe
            regularly does orsolicitsbusiness,orengagesin any otherpersistentcourse ofconduct,ordedves
            substantialrevenue from goodsused orconsum ed orservicesrendered in thisComm onw ealth;
        5. Causing injury inthisCommonwealth to anypersonbybreachofwarranty expresslyorimpliedlymade
            in the saleofgoodsoutsidethisCom m onw ea1th w hen hem ightreasonably have expected such person to
            use,consum e,orbeaffected by the goodsin thisCom m onwea1th,provided thathe also regularly doesor
            solicitsbusiness,orengagesin any otherpersistentcourse ofconduct,ordelivessubstantialrevenue
            9om goodsused orconsum ed orservicesrendered in thisComm onwealth;
        6. H aving an interestin,using,orpossessing realproperty in thisCom m onw ealth;
        7. Contracting to insure any person,property,orrisk located within the Com m onwealth atthe tim eof
           contracting;or
        8. (ii).Having been ordered topay spousalsupportorchildsupportpursuanttoan orderenteredby any
           courtofcompetentjurisdictioninthisCommonwealthhavinginpersonam julisdictionoversuchperson.
-
        9. Having incurred a liability fortaxes,fines,penalties,interest,orothercharges'to any political
           subdivision oftheCom m onw ea1th.


    DUE DILIGENCE REQUIREM ENT:
    lfbox num ber2 ischecked,the following provision applies:

        W hen theperson to be selwed isa resident,the signattlre ofan attorney,party oragentoftheperson seeking
    service on such affidavitshallconstitutea cel-tificate by him thatprocesshasbeen delivered to the sherifforto a
    disinterested person aspennitted by j 8.01-293forexecution and,ifthesheriffordisinterestedpersonwas
    unable to execute such service,thattheperson seeking servicehasm ade abona fide attem ptto detennine the
    actualplace ofabode orlocation ofthe person to be served.


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    FORM DC-410REVERSE 11/07
